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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

 EMILY HERX,                    )
                                )
            Plaintiff,          )
                                ) CAUSE NO.: 1:12-cv-122-RLM-RBC
      v.                        )
                                )
 DIOCESE OF FORT WAYNE-         )
 SOUTH BEND INC. AND ST.VINCENT )
 DE PAUL SCHOOL,                )
                                )
            Defendants.         )

 BRIEF OF AMICUS CURIAE AMERICAN SOCIETY FOR REPRODUCTIVE
 MEDICINE IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
            MOTION FOR JUDGMENT ON THE PLEADINGS


                                Interest of the Amicus Curiae

         Amicus curiae, the American Society for Reproductive Medicine (“ASRM”) is a

 non-profit, multidisciplinary organization with members in all 50 states and more than

 100 countries worldwide.       ASRM was founded in 1944 and is dedicated to the

 advancement of the art, science, and practice of reproductive medicine. It is the specialty

 society for physicians and other professionals who focus on infertility, including

 obstetrician/gynecologists, urologists, reproductive endocrinologists, embryologists,

 mental health professionals, internists, nurses, practice administrators, laboratory

 technicians, pediatricians, research scientists, and veterinarians.     ASRM members

 pioneered many of the standard procedures used by fertility specialists today, including in

 vitro fertilization (“IVF”).
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        ASRM provides multidisciplinary research, education, and advocacy, and sets

 practice and ethical standards in the field of reproductive medicine. Much of this work is

 contained in material published in the ASRM journal, Fertility and Sterility, and on the

 organization’s website (www.asrm.org). ASRM’s affiliate organization, the Society for

 Assisted Reproductive Technology (“SART”), is the member organization for

 approximately 85 percent of the more than 400 fertility clinics in the U.S., ten of which

 are located here in Indiana according to the latest federal data (2009). SART sets and

 enforces strict quality and reporting standards for these clinics, and works closely with

 the federal Centers for Disease Control and Prevention (“CDC”) to make detailed annual

 reports concerning success rates and other key fertility clinic data. This reporting is

 mandated by the Fertility Clinic Success Rate and Certification Act of 1992 (the “Wyden

 Act”), 42 § U.S.C. 263a-1, et seq.

        ASRM regularly testifies on reproductive health issues before Congress and

 federal agencies, and is active before state legislatures as well. ASRM also has become

 involved in judicial proceedings as amicus curiae to address the many complex legal,

 technical, and ethical issues that can arise with assisted reproductive technology (“ART”)

 or reproductive health in general.

        ASRM’s amicus interest in this case is twofold:

        First, ASRM believes it can aid the Court’s understanding of the subject matter of

 this lawsuit, so that its decisions are fully informed when it comes to the IVF procedures

 that allegedly were the basis for the Plaintiff’s termination by the Defendants. In this

 connection, ASRM notes Ms. Herx’s allegation that the Diocese acted without full and




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 accurate information about the fertility treatment she was receiving. Complt. [Dkt. 1] ¶¶

 22, 29.

           Second, as an organization of thousands of people who have dedicated their

 professional lives to reproductive health, ASRM has a powerful interest in advocating

 against barriers to safe, effective, and well-established fertility care, including IVF. That

 interest is especially pronounced here, given the chilling effect that enforcement of

 Defendants’ purported right to terminate employees for seeking IVF treatment would

 have on a potentially huge patient base – namely, the substantial percentage of those who

 suffer from infertility among the roughly one million people employed by Catholic

 institutions in the United States. The legal or philosophical merit of the Defendants’

 position in this particular case is for others to debate. ASRM weighs in here instead to

 show how radical the position is from the medical perspective, in terms of its impact on

 access to mainstream health care.

           ASRM therefore joins the Plaintiff, Ms. Herx, in urging that Defendants’ motion

 for judgment on the pleadings be denied, and that the parties’ claims and defenses instead

 be evaluated upon a complete factual record, with due regard not only for Ms. Herx’s

 rights, but also for the health of the many other employees of Catholic institutions who

 find themselves in need of fertility care.

           I.     Infertility Is A Significant U.S. Health Problem.

           Infertility is usually defined as the inability to achieve pregnancy after one year of

 unprotected intercourse. It is a very significant medical problem, affecting about 7.3

 million women and their partners, or about one out of every eight couples of reproductive

 age. Anna Stolley Persky, Reproductive Technology and the Law, Washington Lawyer,




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 at 23 (July/Aug. 2012); ASRM, Oversight of Assisted Reproductive Technology, at 4

 (2010) (available on the ASRM website); RESOLVE: The National Infertility

 Association, Fast Facts About Fertility, http://www.resolve.org/about/fast-facts-about-

 fertility.html/.   For rough comparison, in percentage terms, this rate (about 12%)

 represents more reproductive-age Americans than were diagnosed in 2011 with heart

 attack (1%), cancer (2.6%), diabetes (5.3%), and asthma (11.1%). Gallup, Key Chronic

 Diseases Decline in U.S. (Jan. 20, 2012), http://www.gallup.com/poll/152108/key-

 chronic-diseases-decline.aspx?version=print (chart of chronic conditions surveyed among

 30- to 44-year-olds, by year).   Data from the 2002 National Survey of Family Growth

 shows that about two percent of reproductive age women had an infertility-related

 medical appointment in the previous year, and that an additional ten percent (which

 translates to over six million of the 62 million reproductive-age women in the U.S.) had

 received infertility services at some point in their lives. U.S. Dep’t. of Health & Human

 Services, Centers for Disease Control and Prevention, 2009 Assisted Reproductive

 Technology Success Rates, National Summary and Fertility Clinic Reports, at 3 (Nov.

 2011) (hereafter, “2009 CDC Report”).

         In normal conception, the woman’s ovary releases an egg, which is picked up by

 the fallopian tube and fertilized there by the man’s sperm, which has traveled through the

 vagina, into the uterus, and up into the fallopian tube. The fertilized egg, or embryo, then

 travels down the fallopian tube into the uterus, where it implants in the uterine lining and

 develops. A problem in any part of this process can cause infertility, whether it is a

 difficulty with ovulation; blocked or otherwise non-functioning fallopian tubes; problems

 with the peritoneum (the lining of the organs in the woman’s pelvis and abdomen), such




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 as scar tissue or endometriosis (where tissue that lines the uterus begins to grow outside

 the uterus); problems with the amount, volume, or morphology (appearance and shape) of

 the sperm; a combination of these factors; or, in some cases, causes that cannot be

 identified. ASRM, Infertility: An Overview (2012) (available on the ASRM website).

        The incidence of infertility has grown over the years, in part because, for various

 reasons such as education, career, or economic pressures, women are waiting longer to

 have children. Indeed, the proportion of first births among U.S. women aged 30 or older

 was 5 percent in 1975 and grew to 26 percent just 35 years later in 2010. Persky, at 25.

 The change is significant because a woman’s fertility declines rapidly starting in her mid-

 30s, as the number and quality of eggs remaining in her ovaries declines. ASRM,

 Infertility: An Overview, at 9-10.

        Most of us know at least one couple who has struggled with infertility at some

 point, and through them we have a sense of the great emotional stress that the condition

 imposes even if we have not experienced it ourselves. It is very common to experience

 depression and feelings of frustration, anger, and jealousy that can undermine the

 emotional health of each person in the relationship as well as the stability of the

 relationship itself. Making matters worse, the subject is so personal and sensitive that it

 is can be difficult for the people affected to confide in and get adequate support from

 their family and friends.1




 1
         See generally ASRM, Infertility: An Overview, at 3-4; ASRM, Assisted Reproductive
 Technologies: A Guide for Patients, at 17-18 (2011) (available on the ASRM website);
 RESOLVE: The National Infertility Association, Emotional Aspects of Infertility and Becoming a
 Couple Again, http://www.resolve.org/support-and-services/managing-infertility-stress/emotional
 aspects.html/ and http://www.resolve.org/support-and-services/you-and-your-partner/becoming-
 a-couple-again.html/.


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         II.      IVF Is A Well-Established, Widely Utilized Treatment for Infertility.

         IVF is a method of assisted reproduction in which a man’s sperm and a woman’s

 eggs are combined outside the body in a laboratory dish, with later implantation of the

 resulting embryo in the woman’s uterus. While used today to treat all of the most

 significant types of infertility, IVF initially was developed to treat women with blocked,

 damaged, or absent fallopian tubes, and remains the most (if not only) effective treatment

 for these problems today.2

         Process. 3 Before any treatment, the medical team will do a full investigation to

 identify the potential causes of the infertility.

         In the first stage of an IVF “cycle,” usually called “ovarian stimulation” or

 “ovarian induction,” the woman takes fertility medications in an effort to cause multiple

 eggs to develop rather than the single egg that typically would develop in a normal

 menstrual cycle. The drugs are administered for an eight to fourteen day period, during

 which time her physician4 monitors the development of the eggs using ultrasound and

 blood samples.

         In up to 20 percent of cases, the cycle is cancelled at this stage, usually due to an

 inadequate number of follicles developing in response to the ovulation drugs. In most
 2
         ASRM, Infertility: An Overview, at 8. IVF is by far the most commonly used of the
 assisted reproductive technologies (“ART”), the others being gamete intrafallopian transfer
 (“GIFT,” in which unfertilized eggs and sperm are transferred laparoscopically to the fallopian
 tubes through small abdominal incisions) and zygote intrafallopian transfer (“ZIFT,” in which the
 eggs are fertilized in the lab before being surgically inserted in the fallopian tubes). In this brief,
 we will refer in most cases to “IVF” generically, but to be precise, some of the cited data is
 reported for all ART, not just IVF.
 3
        This is a summary of the process described more fully in ASRM, Assisted Reproductive
 Technologies: A Guide For Patients (2011) (available on the ASRM website).
 4
        Specialists in reproductive medicine usually undergo training in obstetrics and
 gynecology, followed by training in reproductive endocrinology and infertility, or in urology
 followed by training in andrology.


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 cases, however, eggs do develop and are retrieved from the ovary using a minor surgical

 procedure. Doctors then determine which of these eggs are mature and of the best

 quality, and transfer the selected eggs to an incubator, in an IVF culture medium, to await

 fertilization. Sperm, separated from semen, is then combined with the eggs in a process

 called “insemination” or, in cases where semen quality is poor, a single sperm is directly

 injected into each mature egg in a process called “intracytoplasmic sperm injection”

 (“ICSI”). About 65 to 75 percent of the mature eggs retrieved will successfully fertilize.

         By the third day after fertilization, a normally developing embryo will contain six

 to ten cells. By the fifth day, a fluid cavity forms in the embryo, and the tissues that will

 become a fetus separate from the tissues that will become the placenta. Embryos may be

 transferred to the woman’s uterus at any time between one and six days after egg

 retrieval, using a long, thin sterile tube with a syringe on one end, called a “catheter.”

 ASRM has published guidelines in place regarding the number of embryos that should be

 implanted in any given cycle, depending on age and other patient and embryo

 characteristics. Those guidelines seek to maximize the chances of achieving pregnancy

 without unduly risking multiple births.      ASRM, Guidelines on Number of Embryos

 Transferred (2009) (available on ASRM website); 2009 CDC Report, at 25 (discussing

 risk of multiple births).

         If successful development of a transferred embryo continues in the uterus, the

 embryo implants in the uterine lining approximately six to ten days after egg retrieval,

 and develops from that point as it would in a naturally conceived pregnancy. For

 purposes of federally mandated reporting of IVF success rates, pregnancy is achieved

 when ultrasound reveals a gestational sac in the uterus (a “clinical” pregnancy), not when




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 blood or urine samples produce a positive pregnancy test (a “chemical” pregnancy).

 2009 CDC Report, at 545.

        Prevalence. IVF first came to widespread public attention in 1978, with the birth

 of Louise Joy Brown, the first child successfully born after IVF. The term used then was

 “test tube baby,” which perhaps conveys the novelty of the process for most people at

 that time.   Almost 35 years later, though, IVF is anything but novel, exotic, or

 experimental; it is a mainstream, carefully monitored, and very widely used medical

 treatment.

        One out of every hundred babies born in the United States today was conceived

 using IVF. ASRM, Oversight of Assisted Reproductive Technology, at 4. From SART

 and CDC data, we know that over 740,000 IVF/ART children have been born in the U.S.

 since 1985, 5 and other sources estimate five million babies worldwide since 1978.

 Number of IVF Babies Passes 5m Worldwide With Demand for Techniques Still Rising,

 MailOnline (July 1, 2012), http://www.dailymail.co.uk/health/article-2167509/Number-

 IVF-babies-passes-5m-worldwide-demand-techniques-rising-html.

        In 2009 (the most recent year for CDC-published ART data), there were 484 ART

 clinics in the U.S., located in all but a handful of states. 2009 CDC Report, at 15. Of

 these, 441 reported data, and in the aggregate, 146,244 IVF cycles were conducted in

 those clinics, resulting in the birth of 60,190 children.     Id.   Those figures are up

 substantially since 2000, when ART clinics reported 99,629 cycles and 35,025 children.

 Id. at 65. In Indiana, 1678 cycles were reported to SART in 2009, resulting in the birth of


 5
        CDC began including number of babies born from ART in its 1997 publication, Assisted
 Reproductive Technology Success Rates, National Clinic Reports. Prior year data come from
 SART Registry Reports published in ASRM’s journal, Fertility and Sterility.



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 733 children.6 This type of data is required by the Wyden Act, and is not available with

 equal rigor for any other type of fertility treatment – including the “natural” methods

 approved by the Catholic Church, sometimes referred to as “NaPro Technology” or the

 “Creighton Model FertilityCare System.”

         On average, each IVF cycle costs about $12,400, Persky, at 27, and multiple

 cycles may be necessary. Insurance coverage for infertility treatment, and exceptions to

 that coverage, vary from state to state. In eight states, insurance companies are required

 either to cover or offer coverage for IVF, and in three states, coverage is mandated for

 medically necessary infertility treatments generally, without identification of any specific

 treatment.7 Indiana is not among the states mandating coverage, but we note that Ms.

 Herx’s visits to her fertility doctor and the anesthesia services she received as part of her

 IVF procedures were covered by the Diocese’s self-funded health insurance plan.

 Complt. [Dkt. 1] ¶ 35.

         Finally, from the standpoint of IVF prevalence, there is now a significant level of

 religious acceptance of the procedure in this country. For example, the Jewish, Muslim,

 and non-Catholic Christian faiths, including Mormonism, are generally tolerant and

 sometimes even encouraging of IVF, at least when the procedure involves married




 6
          See also 2009 CDC Report, at 264-73. By some estimates, Indiana is 32nd among the
 states in IVF usage (not counting cycles utilizing donor eggs), with 22.9 IVF cycles per 100,000
 people as of 2008. Abbie Waters, IVF Use in America: State IVF Rates and Rankings, Fertility
 Nation,           http://www.fertilitynation.com/united-states-of-ivf-state-ivf-rates-rankings-map-
 infographic/.
 7
          ASRM,               State             Infertility          Insurance            Laws,
 http://www.reproductivefacts.org/insurance.aspx; State Laws Related to Insurance Coverage for
 Fertility Treatment, National Conference of State Legislatures (Mar. 2012),
 http://www.ncsl.org/issues-research/health/insurance-coverage-for-infertility-laws.aspx.


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 couples who use their own sperm and egg cells, as it promotes the religious imperative to

 bear children.8

        III.       Defendants’ Position In This Case, If Accepted, Will Have A
                   Substantial Negative Impact On Access To Safe And Effective
                   Fertility Care.

        ASRM is deeply concerned about the potential public health impact of the

 Defendants’ position in this case.      Catholics make up a sizeable proportion of the

 population in this country. The Church’s thousands of institutions – its hospitals and

 schools, for example – are woven into the fabric of American life, in part because of the

 number of people they serve and employ, Catholic and non-Catholic alike.                 The

 employees of those institutions represent an enormous population of patients, some of

 whom, like Ms. Herx, suffer from infertility and would face a substantial employment-

 based impediment to seeking effective treatment for that condition were the Defendants’

 position to prevail here. ASRM is concerned about all barriers to appropriate IVF

 treatment, but especially so here given the number of people potentially affected.

        Almost 100 million Americans, a third of the nation, were baptized Catholic; of

 these, over 70 million identify themselves as Catholic.9 Catholic charitable organizations

 (providing food services, counseling, clothing, housing assistance, etc.) employ nearly



 8
           See Christian Medical and Dental Association, Assisted Reproductive Technology (Apr.
 29, 2010); Sherman J. Silber, Judaism and Reproductive Technology (2010), available
 http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3071555/; In Vitro Fertilization: Islamic View,
 http://www.onislam.net/english/ask-the-scholar/family/pregnancy-and-newborns/169483-in-vitro-
 fertilization-islamic-view.html?newborns=; The Church of Jesus Christ of Latter-Day Saints,
 Handbook 2: Administering the Church, at § 21.4.7, http://www.lds.org/handbook-2-
 administering-the-chuch/selected-church-policies?lang=eng#214.
 9
         The Catholic Church in America: Earthly Concerns, The Economist (Aug. 18, 2012),
 available at http://www.economist.com/node/21560536/.



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 65,000 people. 10 Of the nearly 5,000 community hospitals in the United States in 2010,

 629 of them (12.6%) were Catholic, employing over 640,000 full-time equivalent staff.11

 There are over 200 Catholic colleges, universities, and professional schools (e.g., law,

 medicine, nursing, education), educating almost 950,000 students, Catholic and non-

 Catholic.12 And there are over 6,800 Catholic elementary and secondary schools, like

 Defendant St. Vincent DePaul School.13 Those schools enrolled more than two million

 students in the 2011-12 academic year, 15% of whom were non-Catholic, and employed

 over 150,000 full-time equivalent professional staff, only about three percent of whom

 were classified as “Religious/Clergy.”14 In all, the Church is estimated to employ over

 one million people in this country, see The Catholic Church in America, comparable to

 the 1.4 million employed in the U.S. by the world’s largest private sector employer,

 Walmart.15

        There is every reason to expect that, among these many Catholic institution

 employees, not only is infertility just as prevalent as it is in the larger community, but so

 is the demand for IVF treatment as an option for treating that condition. For one thing,


 10
         Catholic    Charities    USA,    Catholic   Charities   At    A    Glance     (2012),
 http://www.catholiccharitiesusa.org/document.doc?id=2853.
 11
         Fast Facts: Care Provided by Catholic Hospitals, Catholic Health Association of the
 United States, http://www.chausa.org/Pages/Newsroom/Fast_Facts/.
 12
         Catholic Higher Education, Association of Catholic Colleges and Universities,
 http://www.accunet.org/i4a/pages/index.cfm?pageid=3789.
 13
         Dale McDonald & Margaret M. Schultz, Catholic School Data: United States Catholic
 Elementary and Secondary Schools 2011-2012, National Catholic Educational Association,
 http://www.ncea.org/news/annualdatareport.asp.
 14
        Id.

 15
         World’s           10          Biggest         Employers,                 CNBC.com,
 http://www.cnbc.com/id/44622153/World_s_10_Biggest_Employers?slide=11.


                                              11
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 these institutions employ large numbers of people who are not Catholic at all, let alone

 Catholic clergy, and who therefore have no inherent allegiance to the Church’s positions

 on IVF. As to employees who are Catholic, while ASRM is not aware of any studies

 directed specifically to IVF use by Catholic patients, there is strong anecdotal evidence

 from the Church itself that it is common.

        For example, in an article published by the National Catholic Bioethics Center in

 2005, Fr. Tad Pacholczyk wrote that:

        When I give talks about [IVF], I usually ask my audience the following question:
        ‘How many of you know a baby born by IVF, or know a couple who has tried to
        get pregnant this way?’ Usually about half the hands in the room go up. Then I
        ask them to raise their hands if the couple was Catholic. Virtually all the same
        hands go up a second time. I have the sense that Catholics are making use of IVF
        at about the same rate as non-Catholics, and that most of them are only vaguely
        aware of the Church’s position on making test tube babies.

 Rev. Tadeusz Pacholczyk, Babies in Test Tubes, National Catholic Bioethics Center,

 (Dec. 2005), http://www.ncbcenter.org/page.aspx?pid=278 (emphasis added).              In

 communications with its priests, Church representatives also have publicly acknowledged

 that “Catholic couples make use of IVF with great frequency,” citing the “very high

 incidence of infertility in our society,” the “natural desire of married couples for

 children,” and the fact that IVF is “probably the most common approach for overcoming

 infertility in our day.”    John M. Haas, Preaching Points on In Vitro Fertilization,

 National    Catholic       Bioethics   Center     (September     2007),    available    at

 http://www.ncbccenter.org/document.doc?id=8 (emphasis added).

        One could even argue that married religious couples experiencing infertility are

 more motivated to pursue IVF than couples who are not religious given the imperative in

 many faiths to produce children.       See Arthur Griel, et al., Specifying the Effects of




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 Religion on Medical Helpseeking: The Case of Infertility, 71 Social Science & Medicine

 734-42, at 736, 640 (2010) (finding evidence that, in decisions about seeking medical

 attention for infertility, potential religious concerns about infertility treatment are roughly

 offset by parenthood as a strong religious value).

         At the same time, there is good reason to question the extent to which the Church

 consistently communicates and enforces its positions on IVF. A research director for the

 National Catholic Bioethics Center, for example, is quoted as saying that, “from our

 consultation experience here, Catholics using reproductive technologies are generally

 unaware of the Church’s moral teaching in this area” and that “[t]hey’re not hearing it

 from the pulpit or elsewhere.” Tim Drake, Couples Ask: What’s Wrong With In-vitro

 Fertilization?,      Catholic.net,      http://www.catholic.net/index.php?option=dedestaca

 &id=3322. The topic is sensitive because it is personal and because, as the Church

 recognizes, those who seek IVF treatment are doing it for what the Church considers a

 good reason, to have children.16

         Consistent with that observation, Ms. Herx’s Complaint describes a situation in

 which she, as a Catholic school employee with no religious teaching or ministerial


 16
         See also Haas (in IVF “preaching points,” stressing that “[s]exual topics should be dealt
 with delicately,” that “[t]here is no need to go into too much detail about how the sex cells are
 obtained,” and that these topics are best addressed in limited audiences or counseling situations);
 John M. Haas, Begotten Not Made: A Catholic View of Reproductive Technology, United States
 Conference of Catholic Bishops, http://www.old.usccb.org/prolife/programs/rlp/98rlphaa.shtml:

         It is quite legitimate, indeed praiseworthy, to try to find ways to overcome infertility.
         The problem causes great pain and anguish for many married couples. Since children are
         a wonderful gift of marriage, it is a good thing to try to overcome the obstacles which
         prevent children from being conceived and born.

                                                      ***
         The immorality of conceiving children through IVF can be difficult to understand and
         accept because the man and woman involved are usually married and trying to overcome
         a ‘medical’ problem (infertility) in their marriage.


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 responsibilities, for over two years felt no pressure to keep her IVF treatment secret from

 her colleagues and supervisors, was for a time actually encouraged in her efforts to have

 children of her own through IVF, and received insurance coverage from her self-insured

 employer for those efforts, only to be surprised later when told that she was a “grave,

 immoral sinner” and that it would have been better to have kept her situation private.

 Complt. [Dkt. 1] ¶¶ 8-36. It is also significant that the highest-ranking Church official

 that Ms. Herx dealt with on this matter, Msgr. Kuzmich, did not terminate her

 immediately, but allowed her to finish the academic year, and admitted to needing to do

 more research about IVF and its implications for her job, as he “did not know much about

 this.” Id. ¶ 22.

        On those facts, which must be taken as true at this stage, it is difficult to know

 whether we are dealing with a consistently communicated and enforced “teaching” about

 IVF, or something else. In other words, was the conduct being punished in this case a

 type of medical treatment that is not and can never be tolerated under Church law (as

 Defendants apparently contend), or is it among those transgressions of religious doctrine

 that in fact are tolerated on a case-by-case basis, depending in part on who the alleged

 transgressor is and whether she has created the potential for “scandal” (id.) by speaking

 openly about what she has done?

        Among those suffering from infertility, there is the potential for real confusion,

 too, even if the Church’s anti-IVF message is delivered clearly.        In particular, the

 Church’s objection to IVF is often framed as a concern that it replaces an act of marital

 love with “petri dishes and test tubes.” Pacholczyk, Babies in Test Tubes. To be sure,

 IVF babies are not conceived through sexual intercourse, but the rhetoric goes too far




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 when it suggests that the necessary clinical aspects of this process are anything but

 incidental to the deep human love and commitment that motivates couples to undertake it.

 On the contrary, as ASRM advises couples undergoing IVF, the process is a difficult one,

 fraught with anxiety and stress on their relationship, procedures that open their bodies

 and sexuality to detailed examination by strangers, that are expensive and time-

 consuming, and that may lead to multiple births that will test the couple in all sorts of

 ways for years to come. Couples do not often go down this difficult path17 without faith

 in and commitment to one another, and they would be difficult to persuade that what they

 are doing is anything but an act of love for each other and the children they hope to have

 together.

                                          Conclusion

        For these reasons, ASRM respectfully submits that this is a case that calls out for

 careful deliberation on a full evidentiary record, not summary disposition at the pleading

 stage. The implications for persons not before the Court are significant. In particular,

 enforcement of the so-called “morality clause” in the teaching contract at issue cannot

 help but put a large number of patients in fear for their jobs, practically foreclosing access
 17
         From ASRM’s Assisted Reproductive Technologies: A Guide for Patients, at 17-18
 (available on the ASRM website):

        Assisted reproductive technologies involve significant physical, financial, and emotional
        commitments on the part of the couple. Psychological stress is common, and some
        couples describe the experience as an emotional roller coaster. The treatments are
        involved and costly. Patients have high expectations, yet failure is common in any given
        cycle. Couples may feel frustrated, angry, isolated, and resentful. At times, frustration
        can lead to depression and feelings of low self-esteem, especially in the immediate period
        following a failed ART attempt. The support of friends and family members is very
        important at this time. Couples are encouraged to consider psychological counseling as
        an additional means of support and stress management. Many ART programs have a
        mental health professional on staff to help couples deal with the grief, tension, or
        anxieties associated with infertility and its treatment.




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 to an effective, well-regulated treatment for their infertility. Infertility is a common and

 psychologically damaging affliction that affects the “major life activity” of reproduction.

 Bragdon v. Abbott, 524 U.S. 624, 638 (1998) (concluding “with little difficulty” that

 reproduction is a “major life activity” within the meaning of the ADA). Given these high

 stakes, every effort should be made to test, not only the proper legal scope of the

 ministerial exceptions that the Defendants urge, but also the facts surrounding their

 decision to terminate Ms. Herx, including the sincerity of the stated reasons and the

 consistency of that decision with Defendants’ treatment of other employees similarly

 situated. We respectfully submit that this Court should be in no hurry to make a decision

 that could put thousands of people employed by Catholic institutions to a choice between

 their livelihood and their medical well-being. The Defendants’ motion for judgment on

 the pleadings should be denied.



                                               Respectfully submitted,


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 September 17, 2012




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                              CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the foregoing was filed
 electronically on the 17th day of September, 2012. Notice of this filing will be sent to the
 following parties by operation of the Court’s electronic filing system, who may access
 this filing through the Court’s system:

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